Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 1 of 60 PageID #: 8565




                           EXHIBIT A
       Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 2 of 60 PageID #: 8566
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                         Chanbond, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                       Ascenda Law Group, PC
                                            333 W. San Carlos Street, Suite 200, San Jose, CA 95110
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Attachment A



  Place: Winston & Strawn LLP                                                           Date and Time:
           275 Middlefield Road, Suite 205                                                                   10/03/2017 9:30 am
           Menlo Park, CA 94025

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/19/2017

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ James C. Lin
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
All Defendants                                                           , who issues or requests this subpoena, are:
James C. Lin, Winston & Strawn , 275 Middlefield Road, Suite 205, Menlo Park, CA; (650) 858-6434, jalin@winston.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
      Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 3 of 60 PageID #: 8567
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 4 of 60 PageID #: 8568
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 5 of 60 PageID #: 8569




                                        ATTACHMENT A
                    ChanBond, LLC v. Atlantic Broadband Group, LLC et al.
                        Civil Action No. 1:15-cv-00842 - 854 (D. Del.)

                                          DEFINITIONS

        The following definitions are applicable to terms employed in responding to this

 Subpoena Duces Tecum (“Subpoena”) for the production of documents:

        1.      “You” or “Your” means Ascenda Law Group, PC, and any predecessor or

  successor entity and any past or present parent, division, subsidiary, affiliate, associated

  organization, officer, agent, employee, consultant, staff member, associate, partner, or other

  representative.

        2.      The term “ChanBond” means ChanBond, LLC, and any and all predecessors,

  successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or

  affiliated companies or corporations, including at least CBV and Z-Band, and all past or present

  members, shareholders, officers, directors, employees, agents, attorneys, representatives, any

  past or current investors or persons with an interest in ChanBond, LLC, the ChanBond Patents,

  or Related Patents, including at least UnifiedOnline, and all other persons acting or purporting

  to act or that have acted or purported to have acted on behalf of any of the foregoing.

        3.      The term “UnifiedOnline” means UnifiedOnline, Inc., and any and all

  predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

  all parent or affiliated companies or corporations, and all past or present members, shareholders,

  officers, directors, employees, agents, attorneys, representatives, any past or current investors or

  persons with an interest in UnifiedOnline, Inc., and all other persons acting or purporting to act

  or that have acted or purported to have acted on behalf of any of the foregoing.




                                                  1
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 6 of 60 PageID #: 8570




        4.      The term “CBV” means CBV, Inc., and any and all predecessors, successors,

  divisions, subsidiaries, or joint ventures thereof, together with any and all parent or affiliated

  companies or corporations, and all past or present members, shareholders, officers, directors,

  employees, agents, attorneys, representatives, any past or current investors or persons with an

  interest in CBV, Inc., and all other persons acting or purporting to act or that have acted or

  purported to have acted on behalf of any of the foregoing.

        5.      The term “Z-Band” means Z-Band, Inc., and any and all predecessors, successors,

  divisions, subsidiaries, or joint ventures thereof, together with any and all parent or affiliated

  companies or corporations, and all past or present members, shareholders, officers, directors,

  employees, agents, attorneys, representatives, any past or current investors or persons with an

  interest in Z-Band, Inc., and all other persons acting or purporting to act or that have acted or

  purported to have acted on behalf of any of the foregoing.

        6.      The term “ChanBond Patents” means U.S. Patent Nos. 7,346,918, 7,941,822,

  8,341,679, and 8,984,565, including any application that led to issuance of any of the

  aforementioned patents, or any reexaminations thereof.

        7.      The term “Related Patents” means any and all patents that relate back to a

  common application as any ChanBond Patent, including any provisional or non-provisional

  applications, continuations, continuations-in-part, divisions, interferences, reexaminations,

  reissues, parents, foreign counterpart applications, as well as any other applications disclosing,

  describing or claiming any invention disclosed, described or claimed in any ChanBond Patent,

  or claiming the benefit of the filing date of any application whose benefit is claimed in any

  ChanBond Patent, whether or not abandoned and whether or not issued.




                                                 2
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 7 of 60 PageID #: 8571




         8.     The term “ChanBond Inventors” means Earl Hennenhoefer, Richard V. Snyder,

  and Robert D. Stine.

         9.     The term “Prior Art” refers to art under 35 U.S.C. §§ 102 and 103 and includes,

  by way of example and without limitation, printed publications, patents, disclosures, prior

  inventions, admissions, prior public uses, prior offers for sale, or sales of actual products.

         10.    The term “GigaTwist” means the GigaTwist product.

         11.    The term “GigaBUD” means the GigaBUD product. For avoidance of doubt, this

  term    includes    the    GigaBUD        product    referenced     in   Ex.     1    (http://www.z-

  band.com/markets/healthcare/products-services/) to this subpoena.

         12.    The term “GigaBOB” means the GigaBOB product. For avoidance of doubt, this

  term    includes    the    GigaBOB        product    referenced     in   Ex.     1    (http://www.z-

  band.com/markets/healthcare/products-services/) to this subpoena.

         13.    The term “Whitaker Corp.” means The Whitaker Corporation, and any and all

  predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

  all parent or affiliated companies or corporations, and all past or present members, shareholders,

  officers, directors, employees, agents, attorneys, representatives, any past or current investors or

  persons with an interest in The Whitaker Corporation, and all other persons acting or purporting

  to act or that have acted or purported to have acted on behalf of any of the foregoing.

         14.    The term “Whitaker Patents” means U.S. Patent No. 5,901,340 and U.S. Patent

  No. 5,875,386, including any application that led to issuance of any of the aforementioned

  patents, or any reexaminations thereof.

         15.    The term “Whitaker Inventors” means Steven Lee Flickinger, James Ray

  Fetterolf, Sr., Joseph P. Preschutti, Terry P. Bowen, Jeffrey Legg, and David Koller.




                                                   3
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 8 of 60 PageID #: 8572




        16.     The term “Defendants” means the defendants in the litigations initiated by

  ChanBond currently pending in the District of Delaware against each of the Defendants. To

  resolve any doubt, these include the Defendants in case numbers 1:15-cv-00842-RGA through

  1:15-cv-00854-RGA.

        17.     The term “Instant Litigations” means the litigations initiated by ChanBond

  currently pending in the District of Delaware against each of the Defendants. To resolve any

  doubt, these include case numbers 1:15-cv-00842-RGA through 1:15-cv-00854-RGA.

        18.     The term “Defendants” means the defendants in the litigations initiated by

  ChanBond currently pending in the District of Delaware against each of the Defendants. To

  resolve any doubt, these include the Defendants in case numbers 1:15-cv-00842-RGA through

  1:15-cv-00854-RGA.

        19.     The term “U.S.P.T.O.” means the United States Patent and Trademark Office.

        20.     The terms “concerning,” “relate,” “relating,” or “related” mean in any way,

  directly or indirectly, in whole or part, relating to, concerning, alluding to, referring to,

  discussing, mentioning, regarding, pertaining to, describing, reflecting, containing, analyzing,

  studying, reporting on, commenting on, evidencing, constituting, setting forth, considering,

  recommending, modifying, amending, confirming, endorsing, representing, supporting,

  qualifying, terminating, revoking, refuting, undermining, canceling, contradicting, or negating.

        21.     The term “DOCSIS” shall mean the Data Over Cable Service Interface

  Specification, and shall include all versions, including, but not limited to, DOCSIS 3.0,

  DOCSIS 2.0, DOCSIS 1.1, and DOSCSIS 1.0.

        22.     The term “document” shall have the broadest meaning possible under the Federal

  Rules of Civil Procedure and shall include, but not be limited to, the original (or a copy when




                                                 4
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 9 of 60 PageID #: 8573




  the original is not available) and each non-identical copy (including those which are non-

  identical by reason of translations, notations, or markings) or any and all other written, printed,

  typed, punched, taped, filmed, or graphic matter or recorded or tangible thing, or whatever

  description, however produced or reproduced (including computer-stored or generated data,

  together with instructions or programs necessary to search and retrieve such data and hard

  copies where available and retrievable), and shall include all attachments to and enclosures with

  any requested item to which they are attached or with which they are enclosed, and each draft

  thereof. The term “document” shall specifically include all recorded or retrievable electronic

  data or communications such as electronic mail (e-mail) and the like and all translations thereof.

        23.     “Communication” shall mean any oral, written, electronic, or other exchange of

  words, thoughts, information, or ideas to another person or entity, whether in person, in a group,

  by telephone, by letter, by Telex, or by other process, electric, electronic, or otherwise. All such

  communications in writing shall include, without limitation, printed, typed, handwritten, or

  other readable documents, correspondence, memoranda, reports, contracts, drafts (both initial

  and subsequent), computer discs or transmissions, e-mails, instant messages, tape or video

  recordings, voicemails, diaries, log books, minutes, notes, studies, surveys and forecasts, and

  any and all copies thereof.

        24.     The words “or,” “and,” “all,” “every,” “any,” “each,” “one or more,” “including,”

  and similar words of guidance, are intended merely as such, and should not be construed as

  words of limitation. The words “or” and “and” shall include each other whenever possible to

  expand, not restrict, the scope of the request. The word “including” shall not be used to limit

  any general category or description that precedes it. The words “all,” “every,” “any,” “each,”




                                                  5
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 10 of 60 PageID #: 8574




   and “one or more” shall include each other whenever possible to expand, not restrict, the scope

   of the request.

          25.     Reference to the singular in any of these requests shall also include a reference to

   the plural, and reference to the plural also shall include a reference to the singular.

                                           INSTRUCTIONS

          1.      Unless otherwise stated in a request, the time period covered by the command of

  this Subpoena is June 27, 1999 to Present.

          2.      All requests for “documents” include a request for any “communications,” such as

  letters or e-mails.

          3.      It is Your duty in answering these requests to conduct a reasonable investigation

  so that You disclose and produce all available responsive and non-privileged documents.

          4.      If production of any responsive documents are being withheld on the ground of

  the attorney-client privilege, attorney work product, or any other privilege, immunity, or

  protection, please provide a privilege log with the following information for each such

  document: (a) the name of the document; (b) the name of the person(s) who prepared the

  document; (c) the name of the person(s) to whom the document was directed or circulated; (d)

  the date(s) on which the document was prepared or transmitted; (e) the name of the person(s)

  now in possession of the document; (f) a description of the subject matter of the document; and

  (g) the specific nature of the privilege or protection claimed with respect to the document.

          5.      If any request herein requires the production of documents that are no longer in

  Your actual or constructive possession, custody, or control or which have been destroyed or lost,

  then in lieu of production, You shall state or identify the title of the document, the author of the

  document, each person to whom or by whom a copy of the original of the document was




                                                    6
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 11 of 60 PageID #: 8575




  delivered, forwarded, or has been received, the date of the document, and the general subject

  matter of the document. In the event You claim that information contained other than in

  documentary form is no longer in Your actual or constructive possession, custody, or control or

  has been destroyed or lost, You shall state or identify the nature of the information, the creator of

  the information, the person to whom the information was or was to be forwarded, delivered or

  for whom it was prepared, the date of the creation of the information, and the manner in which

  the information has been memorialized, if at all.

         6.      In any instance where documents, data, or information requested herein is stored

  on a computer, a computer hard drive, a computer mainframe, computer back-up tape, or in any

  other electronic format, Defendants request that You produce the data, information, or

  documents on CD ROM, computer disk, or in hard copy paper form. Further, Defendants

  request that You produce all documentation or programs that would allow Defendants to run,

  read, view, print, or otherwise access any such disks, CD ROM, or other computer information.

         7.      You are under a continuing obligation to respond to the requests set forth herein.

  Accordingly, if You subsequently gain actual or constructive possession, custody, or control of

  any document called for in the requests set forth herein that has not been produced to

  Defendants, You must produce such document to Defendants as soon as possible or provide a

  written explanation to Defendants as to why You will not produce the document.

         8.      The documents shall be produced as they are kept in the usual course of business

  or shall be organized and labeled to correspond with the categories in the requests.

         9.      To the extent a document is considered confidential in nature, you may designate

  it in accordance with the protective order entered in this case, a copy of which is attached as

  Exhibit 2.




                                                   7
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 12 of 60 PageID #: 8576




                                       DOCUMENT REQUESTS

         1.         All documents transferred to you, including all documents transferred by

  Buchanan Ingersoll & Rooney PC or Mr. Jonathan Bowser at Buchanan Ingersoll & Rooney PC,

  related to the ChanBond Patents, Related Patents, Z-Band, CBV, ChanBond, and/or any of the

  ChanBond Inventors.

         2.         All documents regarding the ChanBond Patents and/or any Related Patents.

         3.         All documents regarding Your, ChanBond’s, CBV’s, Z-Band’s, or the ChanBond

  Inventors’ efforts to obtain patent protection on any invention related to the subject matter

  shown, described, or claimed in the ChanBond Patents and/or any Related patents, including but

  not limited to:

                    a.     all invention disclosures and draft patent applications;

                    b.     all documents attached to, referring to or regarding any invention

         disclosure;

                    c.     the prosecution file of each ChanBond Patent;

                    d.     the prosecution history of all of the ChanBond Patents and/or Related

         Patents;

                    e.     the prosecution history of each application on which any of the ChanBond

         Inventors is a named inventor, including all issued, pending or abandoned applications;

                    f.     all notes related to any office action, examiner interview, or other

         proceeding before the U.S.P.T.O. related to the ChanBond Patents and/or Related Patents

                    g.     all U.S. and foreign patents and patent applications, and corresponding

         prosecuting histories, including those of unpublished, pending and/or abandoned




                                                     8
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 13 of 60 PageID #: 8577




         applications, that are or have been prepared in whole or in part owned by You that are

         directed to the subject matter disclosed in the ChanBond Patents and/or Related Patents;

                   h.     all correspondence regarding the patent applications referred to in subparts

         (c) through (g) above;

                   i.     all documents consulted or reviewed by the applicants, patentees, or You

         during the preparation and prosecution of any application referred to in subparts (c)

         through (g) above, including but not limited to Prior Art references or potential Prior Art

         references;

                   j.     all documents related to any Prior Art search contemplated or run in

         preparation and prosecution of any application referred to in subparts (c) through (g)

         above; and

                   k.     all documents concerning Your participation in any examiner interview

         during prosecution of the ChanBond Patents and/or Related Patents, including, but not

         limited to, any assertions to the examiner made by You.

         4.        All documents regarding (a) Your knowledge of any Prior Art to the ChanBond

  Patents and/or Related Patents, and (b) the date and circumstances pursuant to which You first

  learned of each piece of Prior Art.

         5.        All documents regarding the ChanBond Patents or Related Patents and (1) cable

  systems, (2) high-speed data services, or (3) the DOCSIS protocol, including any investigation of

  the foregoing.

         6.        All documents related to the ChanBond Patents or Related Patents and any named

  Defendants.




                                                   9
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 14 of 60 PageID #: 8578




         7.      All documents regarding the conception, reduction to practice, research, design,

  development, or testing of the subject matter shown, described, and claimed in the ChanBond

  Patents and/or Related Patents, including but not limited to laboratory notebooks, inventor

  notebooks, source code, and computer data, as well as the first written description or disclosure

  (including drawings) and the first prototype of such subject matter.

         8.      All documents concerning any analysis of the validity or invalidity of any of the

  claims of the ChanBond Patents and/or Related Patents.

         9.      All documents concerning any analysis of the infringement of any of the claims of

  the ChanBond Patents and/or Related Patents.

         10.     All documents prepared in relation to the licensing, offer to license, or offer for

  sale of the ChanBond Patents and/or Related Patents.

         11.     All documents related to any pre-filing investigation, infringement analysis, or

  competitive analysis with respect to any ChanBond Patent or Related Patent.

         12.     All documents that reflect, refer to or relate to the meaning of any claim term of

  any of the claims of the ChanBond Patents and/or Related Patents.

         13.     All documents concerning any product, prototype, development version, test

  version, commercial embodiment, or commercialization of any invention claimed in the

  ChanBond Patents and/or Related Patents, or related to the subject matter of the ChanBond

  Patents and/or Related Patents.

         14.     All documents that reflect, refer to or relate to any testing, analysis, comparison,

  or experimentation relating to the any invention claimed in the ChanBond Patents and/or Related

  Patents, or related to the subject matter of the ChanBond Patents and/or Related Patents.




                                                  10
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 15 of 60 PageID #: 8579




         15.    All documents related to the making, using, testing, selling, offering for sale,

  licensing, or disclosure, anywhere in the world, of any product embodying any technical matter

  disclosed in, or any invention claimed in, any ChanBond Patent and/or Related Patent.

         16.    All documents related to the GigaTwist, GigaBUD, or GigaBOB products,

  including all documents related to testing, selling, offering for sale, licensing, or disclosure

  anywhere in the world, of the GigaTwist product.

         17.    All documents concerning the inventorship of any invention described, disclosed

  or claimed in the patents and applications in the ChanBond Patents and/or Related Patents,

  including documents regarding any person considered for inclusion as an inventor, and the

  contribution of each person involved in the conception, development, and reduction to practice

  of the subject matter claimed as an invention in any of the patents or applications in the

  ChanBond Patents and/or Related Patents.

         18.    All documents concerning ownership of the ChanBond Patents and/or Related

  Patents, including but not limited to any proposed, requested, or executed assignment, license,

  conveyance, and/or grant of any right, title or interest in or to any of the ChanBond Patents

  and/or Related Patents regarding any such assignment, license, conveyance, and/or grant.

         19.    All documents concerning any service offerings, beta tests, or trials of the subject

  matter of each of the ChanBond Patents and/or Related Patents or related technologies prior to

  the filing date of each of the ChanBond Patents and/or Related Patents.

         20.    All documents concerning the features, functions, and operation of any

  ChanBond, CBV, or Z-Band product embodying the claims of the ChanBond Patents and/or

  Related Patents.




                                                 11
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 16 of 60 PageID #: 8580




          21.     All documents that reflect, refer to or relate to the manners or techniques by

  which the Chanbond Patents and/or Related Patents allegedly improved upon the Prior Art,

  added functionality that did not exist in the Prior Art, or provided a variation on or upgrade of

  the Prior Art and whether each such alleged improvement, added functionality, or variation or

  upgrade, was nonobvious or unpredictable.

          22.     All communications between or among You, Buchanan Ingersoll & Rooney PC,

  Mr. Jonathan Bowser at Buchanan Ingersoll & Rooney PC, ChanBond, CBV, Z-Band, and/or

  any of the ChanBond Inventors concerning any of the ChanBond Patents and/or Related Patents

  or relating to the Instant Litigations.

          23.     All documents concerning any communications between You and any person

  concerning the subject matter of the Instant Litigations.

          24.     All documents concerning any document retention policy by You, ChanBond,

  CBV, or Z-Band, including all documents concerning any practice, policy, procedure, or effort to

  identify and preserve documents.

          25.     All documents concerning the reasons for creation of CBV, or the decision to

  assign patents to CBV.

          26.     All documents concerning any valuation of any ChanBond Patents and/or any

  Related Patents.

          27.     All documents regarding the Whitaker Patents.

          28.     All communications between you, ChanBond, CBV, Z-Band, and/or any of the

  ChanBond Inventors concerning any of the Whitaker Patents.

          29.     All communications between you and Whitaker Corp., or any of the Whitaker

  Inventors, regarding either the ChanBond patents or the Whitaker Patents.




                                                  12
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 17 of 60 PageID #: 8581




                         Exhibit 1
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 18 of 60 PageID #: 8582
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 19 of 60 PageID #: 8583
Case 1:15-cv-00842-RGA Document 141-1 Filed 09/19/17 Page 20 of 60 PageID #: 8584




                            EXHIBIT 2
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 121ofof4060PageID
                                                                        PageID#:#:305
                                                                                   8585




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE



 CHANBOND, LLC,

                   Plaintiff,
                                                   C.A. No. 15-842-RGA
       v.
                                                JURY TRIAL DEMANDED
 ATLANTIC BROADBAND GROUP, LLC,

                   Defendant.


 CHANBOND, LLC,

                   Plaintiff,
                                                   C.A. No. 15-843-RGA
       v.
                                                JURY TRIAL DEMANDED
 BRIGHT HOUSE NETWORKS, LLC,

                   Defendant.


 CHANBOND, LLC,

                   Plaintiff,
                                                   C.A. No. 15-844-RGA
       v.
                                                JURY TRIAL DEMANDED
 CABLE ONE INC.,

                   Defendant.
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 222ofof4060PageID
                                                                        PageID#:#:306
                                                                                   8586




 CHANBOND, LLC,

                   Plaintiff,
                                                    C.A. No. 15-845-RGA
       v.
                                                 JURY TRIAL DEMANDED
 CABLEVISION SYSTEMS
 CORPORATION, et al,

                   Defendants.


 CHANBOND, LLC,

                   Plaintiff,
                                                    C.A. No. 15-846-RGA
       v.
                                                 JURY TRIAL DEMANDED
 CEQUEL COMMUNICATIONS LLC et
                      '   '
 al '
                   Defendants.


 CHANBOND, LLC,·

                   Plaintiff,
                                                    C.A. No. 15-847-RGA
       v.
                                                 JURY TRIAL DEMANDED
 CHARTER COMMUNICATIONS, INC.,

                   Defendant.


 CHANBOND, LLC,

                   Plaintiff,
                                                    C.A. No. 15-848-RGA
       v.
                                                 JURY TRIAL DEMANDED
 COMCAST CORPORATION et al
                                '   '
                   Defendants.



                                          2
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 323ofof4060PageID
                                                                        PageID#:#:307
                                                                                   8587




 CHANBOND, LLC,

                    Plaintiff,
                                                    C.A. No. 15-849-RGA
       v.
                                                JURY TRIAL DEMANDED
 COX COMMUNICATIONS, INC., et al,

                    Defendants.


 CHANBOND, LLC,

                    Plaintiff,
                                                    C.A. No. 15-850-RGA
       v.
                                                 JURY TRIAL DEMANDED
 MEDIACOM COMMUNICATIONS
 CORPORATION
                '
                    Defendant.


 CHANBOND, LLC,

                    Plaintiff,
                                                    C.A. No. 15-851-RGA
       v.
                                                 JURY TRIAL DEMANDED
 RCN TELECOM SERVICES LLC
                                 '   '
                    Defendant.


 CHANBOND, LLC,

                    Plaintiff,
                                                    C.A. No. 15-852-RGA
       v.
                                                 JURY TRIAL DEMANDED
 TIME WARNER CABLE INC., et al,

                    Defendants.




                                          3
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 424ofof4060PageID
                                                                        PageID#:#:308
                                                                                   8588




 CHANBOND, LLC,

                       Plaintiff,
                                                                 C.A. No. 15-853-RGA
       -v.
                                                             JURY TRIAL DEMANDED
 WAVEDIVISION HOLDINGS, LLC,

                       Defendant.


 CHANBOND, LLC,

                        Plaintiff,
                                                                 C.A. No. 15-854-RGA
        v.
                                                             JURY TRIAL DEMANDED
 WIDEOPEN WEST FINANCE, LLC,

                        Defendant.


                                 [AGREED] PROTECTIVE ORDER

        The parties hereby stipulate that the following Protective Order ("Order") regarding

 confidential information may be entered by the Court:

 1.     INTRODUCTION AND SCOPE

        This Order shall govern all documents and things (whether or not embodied in any physical

 medium) exchanged during this action, including but not limited to documents produced by the

 parties or third-parties, testimony taken at a hearing or other proceeding, and discovery, including

 but not limited to deposition testimony, interrogatory answers, and responses to requests for

 admission. Applications for further protection at trial in this action shall be made at the time of

 trial. Production or disclosure of "CONFIDENTIAL," "HIGHLY CONFIDENTIAL-

 ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL -                        ATTORNEYS' EYES

 ONLY COMPUTER SOURCE CODE" information under this Order shall not prejudice the right


                                                    4
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 525ofof4060PageID
                                                                        PageID#:#:309
                                                                                   8589




 of any party making that production or disclosure to maintain the trade secret status or

 confidentiality of that information in other contexts. Information disclosed under this Order shall

 be used only for purposes of this litigation and not for any other purpose.

 2.     DISCOVERY RULES REMAIN UNCHANGED

        Nothing herein shall alter or change in any way the discovery provisions set forth by the

 Federal Rules of Civil Procedure ("Federal Rules"), the Local Rules for the District of Delaware, or

 this Court. Identification of any individual pursuant to this Order does not make that individual

 available for deposition or any other form of discovery outside of the restrictions and procedures of

 the Federal Rules of Civil Procedure and the Court's Deadlines set out in the applicable Scheduling

 Order. Nothing in this Order shall be construed to require a party to produce or disclose

 information not otherwise required to ?e produced under the applicable rules or orders of this Court.

 3.     DEFINITIONS

        3.1.    Court Staff

        "Court Staff' is defined in this Order as the Court and its personnel, court reporters,

 independent shorthand reporters, and their staffs, and videographers, interpreters, or translators

 engaged for depositions or proceedings necessary to this case.

        3.2.    Discovery Material

        The term "Discovery Material" shall refer to all items or information, including from a non-

 party, regardless of the medium or manner generated, stored, or maintained (including, among other

 things, testimony, transcripts, or tangible things) that are produced or generated in disclosures or

 responses to discovery in this matter.

        3.3.    Inside Counsel

        The term "Inside Counsel" shall mean employees of a named party to this action who (a) are

 attorneys who are members of the named party's legal team, (b) have responsibility for maintaining,

                                                    5
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 626ofof4060PageID
                                                                        PageID#:#:310
                                                                                   8590




defending or evaluating this action, (c) have responsibility for making decisions dealing directly

with this action, and (d) are not subject to the Patent Prosecution Bar of Section 5.9, below.

        3.4.     Outside Consultant

        The term "Outside Consultant" shall mean any outside person (and their support personnel)

who is not an employee of a party or any Related Entity, and who is identified as an expert whose

opinions may be presented at trial of this case, or who is retained or specially employed in

 anticipation of litigation or preparation for trial and who is not expected to be called as a witness at

 trial, including but not limited to, a proposed expert witness with whom counsel may deem it

 necessary to consult concerning technical, financial, or other aspects of this case for the preparation

 or trial thereof. This term is to be construed within the meaning of Federal Rule 26(b)(4)(a)-(b),

 provided that an Outside Consultant is subject to the Patent Prosecution Bar of Section 5.9, below,

 and an Outside Consultants must be approved pursuant to the requirements of Sections 5.5.2 and

 5.5.3, below.

        3.5.     Outside Counsel

        The term "Outside Counsel" shall mean attorneys who are not employees of any named

 party to this action or any Related Entity, but who are retained to represent or advise a named party

 to this action The term "Outside Counsel" includes the following support personnel employed by

 such attorneys: contract attorneys; paralegals;; legal secretaries; legal clerks;; employees of outside

 vendors providing copy services, document, graphics, and exhibit preparation services.

        3.6.     Producing Party

        The term "Producing Party" shall mean a party or third-party that produces Discovery

 Material, including Protected Information, in this action.




                                                     6
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 727ofof4060PageID
                                                                        PageID#:#:311
                                                                                   8591




        3.7.    Protected Information

        The term "Protected Information" shall mean any Discovery Material that the Producing

 Party in good faith designates as "CONFIDENTIAL," "HIGHLY CONFIDENTIAL -

 ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES

 ONLY COMPUTER SOURCE CODE." Protected Information also includes any information

 copied or extracted therefrom, as well as all copies, excerpts, summaries, or compilations thereof,

 plus testimony, conversations, or presentations by parties or counsel to or in court or in other

 settings that might reveal Protected Information.

        3.7.1. Confidential Information. A Producing Party, including any party to this action

 and any third-party producing information or material voluntarily or pursuant to a subpoena or a

 court order, may designate Discovery Material as "CONFIDENTIAL" if the Producing Party has a

 good faith belief that such Discovery Material constitutes or contains confidential information,

 whether embodied in physical objects, documents, or the factual knowledge of persons.

        3.7.2. Highly Confidential-Attorneys' Eyes Only Information. A Producing Party,

 including any party to this action and any third-party producing information or material voluntarily

 or pursuant to a subpoena or a court order, may designate Discovery Material as "HIGHLY

 CONFIDENTIAL-ATTORNEYS' EYES ONLY" ifthe Producing Party has a good faith belief

 that such Discovery Material constitutes or contains proprietary financial, business, or technical

 data, commercially sensitive competitive information or trade secrets (e.g., nonpublic technical

 information, including schematic diagrams, technical reference manuals, and operations manuals);

 damages-related information (e.g., sale volumes, revenues, costs, and profitability), licenses and

 licensing documentation, business plans, strategic plans; and settlement agreements or settlement

 communications, the disclosure of which could cause harm to the business or competitive position

 of the Producing Party.

                                                     7
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 828ofof4060PageID
                                                                        PageID#:#:312
                                                                                   8592




         3.7.3. Restricted Confidential-Attorneys' Eyes Only Computer Source Code

Information. A Producing Party, including any party to this action and any third-party producing

 information or material voluntarily or pursuant to a subpoena or a court order, may alternatively

 designate Discovery Material "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES ONLY

 COMPUTER SOURCE CODE" ifthe Producing Party has a good faith belief that such Discovery

 Material contains a party's Source Code, which shall mean computer object code or other

 executable code or source code or similar programming statements or instructions that in general

 are converted into machine language by compilers, assemblers, or interpreters, including

 configuration files, scripts, source code listings, object code listings, and Hardware Description

 Language (HDL) or Register Transfer Level (RTL) files that describe the hardware design of any

 ASIC or other chip.

         3.7.4. Non-Confidential Information. The following is not "CONFIDENTIAL,"

 "HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY INFORMATION," or

 "RESTRICTED CONFIDENTIAL - ATTORNEYS' EYES ONLY COMPUTER SOURCE

 CODE" Discovery Material:

        a.      any information which, at the time of disclosure to a Receiving Party, is lawfully

                public knowledge;

        b.      any information which, after disclosure to a Receiving Party, lawfully becomes

                public knowledge as a result of publication not involving a violation of this Order;

                and

        c.      any information that a Receiving Party can show was received by it, whether before

                or after the disclosure, from a source who obtained the information lawfully and

                under no obligation of confidentiality.



                                                    8
Case 1:15-cv-00842-RGA
  Case  1:15-cv-00842-RGADocument 141-1
                           Document     Filed 03/14/16
                                    29 Filed  09/19/17 Page
                                                       Page 929ofof4060PageID
                                                                        PageID#:#:313
                                                                                   8593




        3.8.    Receiving Party

        The term "Receiving Party" shall mean a party that receives Discovery Material from a

Producing Party.

        3.9.    Related Entity

        The term "Related Entity" shall mean any parent, subsidiary or other legal business entity

owned or controlled by a common parent.

4.      TIME AND MANNER OF DESIGNATION

        A Producing Party that designates information or items for protection under this Order must

take care to limit any such designation to specific material that qualifies under the appropriate

 standards so that material, documents, items, or oral or written communications for which

protection is not warranted are not swept unjustifiably within the ambit ofthis Order.

         4.1.   Time of Designation

         Designation of Discovery Material may be made at the following times:

         4.1.1. For documents and things, prior to or at the time of the production of the document

 or thing;

         4.1.2. For declarations, written discovery responses, and pleadings, at the time of the

 service or filing, whichever occurs first;

         4.1.3. For any form of testimony, unless otherwise agreed to in writing, either (a) at the

 time that such testimony is given, or (b) within twenty-one (21) calendar days after the receipt of an

 official (i.e., not rough draft) transcript of such testimony by the Producing Party. Until the

 expiration of twenty-one (21) calendar days after receipt of the transcript of such testimony by the

 Producing Party, all testimony will be treated as "HIGHLY CONFIDENTIAL-ATTORNEYS'

 EYES ONLY." In the event that either (a) an extension of time may be required or (b) expedited

 disclosure may be required by a party due to an impending deadline regarding preparation of any

                                                    9
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page10
                                                            30ofof40
                                                                   60PageID
                                                                      PageID#:#:314
                                                                                 8594




 filing or submission that requires consideration of the Protected Information in question, the

 concerned party shall negotiate in good faith for an extended or shortened expiration period, and, if

 agreement regarding an extended or shortened expiration period cannot be reached, then the

 concerned party agrees to submit the matter to the Court for its determination of the appropriate

 expiration period. Any portions so designated shall thereafter be treated in accordance with the

 terms ofthis Order.

        4.1.4. A Producing Party that makes original documents or materials available for

 inspection need not designate them for protection until after the inspecting party has indicated

 which material it would like copied and produced. During the inspection and before the designation,

 all of the material made available for inspection shall be deemed "HIGHLY CONFIDENTIAL-

 ATTORNEYS' EYES ONLY." After the inspecting party has identified the documents it wants

 copied and produced, the Producing Party shall designate the materials in accordance with the terms

 of this Order prior to production.

        4.2.    Manner of Designation

        Designation of Discovery Material shall be made by placing the notation

 "CONFIDENTIAL," "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY," or

 "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES ONLY COMPUTER SOURCE

 CODE" on the Discovery Material in the following manner:

        4.2.1. For documents, on each page of such document, unless produced in native form, in

 which case the legend shall be affixed to the file name;

        4.2.2. For tangible items, on the object or container thereof; or, if not practicable, as

 otherwise agreed by the parties;

        4.2.3. For declarations, written discovery responses, court filing or pleadings, on the face

 of such document;

                                                   10
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page11
                                                            31ofof40
                                                                   60PageID
                                                                      PageID#:#:315
                                                                                 8595




       4.2.4. For testimony, Outside Counsel for either party may designate on the record at the

deposition any testimony as ''CONFIDENTIAL," "HIGHLY CONFIDENTIAL-ATTORNEYS'

EYES ONLY," or "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES ONLY

COMPUTER SOURCE CODE" under this Order. Each page of the designated testimony and any

exhibit on which a witness gives testimony designated as "CONFIDENTIAL," "HIGHLY

CONFIDENTIAL-ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-

ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" shall be treated in accordance with

the terms of this Order;

        4.2.5. Computer Source Code may be so designated by affixing the legend "RESTRICTED

CONFIDENTIAL -ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" on the media

itself or printed paper;

        4.2.6. All "CONFIDENTIAL," "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES

ONLY," or "RESTRICTED CONFIDENTIAL - ATTORNEYS' EYES ONLY COMPUTER

 SOURCE CODE" information not.reduced to documentary, tangible or physical form, or which

cannot be conveniently designated as set forth in Sections 4.2.1. - 4.2.5., shall be designated by

informing the Receiving Party of the designation in writing; and

        4.2.7. To the extent the Receiving Party subsequently generates copies, summaries,

excerpts, transcriptions, translations, notes, or other documents containing or reflecting Protected

Information, whether electronic or hard-copy, it shall mark such documents with the appropriate

confidentiality designations. In the event that the Receiving Party prints documents produce in

native form, the Receiving Party shall mark each such page of the documents with the appropriate

designation.




                                                  11
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page12
                                                            32ofof40
                                                                   60PageID
                                                                      PageID#:#:316
                                                                                 8596




        4.3.    Third-Party Discovery

        4.3.1. The parties recognize that, during the course ofthis case, third-parties may be called

upon to produce "CONFIDENTIAL," "HIGHLY CONFIDENTIAL -                      ATTORNEYS' EYES

ONLY," or "RESTRICTED CONFIDENTIAL -                  ATTORNEYS' EYES ONLY COMPUTER

SOURCE CODE" Discovery Materials. In such a case, the third-party that must produce such

Discovery Material is considered to be a Producing Party, protected under this Order as though a

 signatory to it, and may use the procedures described herein to designate its Discovery Materials as

Protected Information.

        4.3.2. Information originating with a third-party and in a Producing Party's custody or

 control that a Producing Party reasonably and in good faith believes is subject to a confidentiality

 obligation may be designated as "CONFIDENTIAL," "HIGHLY CONFIDENTIAL -

ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES

 ONLY COMPUTER SOURCE CODE" and the Protected Information shall be subject to the

 restrictions regarding disclosure specified in this Order. The foregoing notwithstanding, if a

 Producing Party has a good faith belief that production of the requested Discovery Material is

 objectionable on the grounds that the requested Discovery Material is subject to a third-party

 confidentiality obligation, the Producing Party timely shall confer with that third-party in good faith

 to resolve the confidentiality issue. If this confidentiality issue cannot be resolved, then the

 Producing Party shall notify the requesting party and to the extent consistent with its confidentiality

 obligation, the Producing Party shall (1) identify the third-party; (2) identify the bases for the

 confidentiality obligation; and (3) provide a sufficient description of the types of documents and

 things being withheld, so that the requesting party can file an appropriate motion with the Court.

No disclosure is required until the objection is resolved.

        4.3.3. A third-party's production of Protected Information under this Order does not entitle

                                                    12
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page13
                                                            33ofof40
                                                                   60PageID
                                                                      PageID#:#:317
                                                                                 8597




that third-party to access any other Protected Information or Discovery Materials produced by any

party or other third-party in,this case.

        4.4.    Changing the Designation of Discovery Material

        In the event any party desires to change the designation of Discovery Material that is

produced from no designation to "CONFIDENTIAL," "HIGHLY CONFIDENTIAL -

ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES

ONLY COMPUTER SOURCE CODE," or from one such designation to another, such party may

do so by notice in writing specifically identifying the Discovery Material and furnishing a copy of

such Discovery Material with the new designation. In such event, the Receiving Party shall

thereafter treat such information with the new designation pursuant to this Order, as well as

undertake a good faith effort to correct any treatment of the information inconsistent with the new

designation, including by making a reasonable effort to retrieve Discovery Material disseminated to

individuals not authorized to receive it. A reasonable effort to retrieve the Discovery Material shall

include informing recipients, if such recipients are known and specifically identifiable, of the

Discovery Material that paper and electronic copies (excluding those copies stored in electronic
            .                                                                   .


back-up systems) are to be destroyed and confirming that the copies have been destroyed by the

recipients.

        4.5.    Resolution of Disputes Regarding Designation

        The parties will use reasonable care in designating information as Protected Information

under this Order. In the event that a Receiving Party disagrees with any designation (or changed

designation) by the Producing Party, the Receiving Party shall serve a written challenge on the

Producing Party, identifying with particularity the Discovery Material and the bases for why the

Discovery Material should be designated differently. A Receiving Party shall not be obligated to

challenge the propriety of a designation at the time made, and a failure to do so shall not preclude a

                                                  13
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page14
                                                            34ofof40
                                                                   60PageID
                                                                      PageID#:#:318
                                                                                 8598




subsequent challenge thereto. Such a challenge shall be written, served on counsel for the

Producing Party, and particularly identify the documents or information that the Receiving Party

contends should be differently designated. If the challenge cannot be resolved through the meet and

confer process, the Receiving Party can file an appropriate motion with the Court.

       4.6.    No Presumption of Protected Status

       This Order does not address discovery objections nor preclude either party from moving for

any relief cognizable under the Federal Rules of Civil Procedure, the Local Rules, or this Court's

inherent power. Failure of any party to challenge any designation under this Order shall not

constitute an admission that any Discovery Material designated as Protected Information is, in fact,

Protected Information.

5.     USE OR DISCLOSURE OF PROTECTED INFORMATION

       5.1.    Use of Discovery Materials

       Documents and things exchanged during this litigation shall only be used in this litigation

and any related appellate proceeding, and their use shall be governed by this Order. A Receiving

Party may use Protected Information that is disclosed or produced by another party or by a third-

party in connection with the case in which the information is produced only for the purposes of

litigating, defending, or attempting to settle this litigation or any related appellate proceeding, and

not for any other purpose whatsoever, including without limitation any other litigation, patent

prosecution or acquisition, patent reexamination or reissue proceedings, or any business or

competitive purpose or function. Such Protected Information may be disclosed only to the

categories of persons and under the conditions described in this Order.

       5.1.1. Except as expressly provided in Section 5.4 below, no employee, officer, or director

of any party to this action, including Inside Counsel, shall have access to Protected Information

marked "CONFIDENTIAL," "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY," or

                                                   14
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page15
                                                            35ofof40
                                                                   60PageID
                                                                      PageID#:#:319
                                                                                 8599




"RESTRICTED CONFIDENTIAL - ATTORNEYS' EYES ONLY COMPUTER SOURCE

CODE." without a court order or the written consent of the Producing Party.

        5.2.    Disclosure Among Defendants

        Discovery Material designated as "CONFIDENTIAL," "HIGHLY CONFIDENTIAL -

ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES

 ONLY COMPUTER SOURCE CODE" by a Defendant Producing Party may not be disclosed to

 any other party, including other Defendants in the same case or in cases consolidated for case

management purposes, without written consent of the Defendant Producing Party. Except as

required by law, no Defendant is required to produce its Protected Material to any other Defendant,

but nothing in this Order shall preclude such production.

        Nothing in this Order limits or prevents a Producing Party from granting access to its own

 information.

        5.3;    Duty to Return or Destroy Discovery Material

        Within sixty (60) calendar days after termination of this litigation with respect to a

 Producing Party, including any appeals, all Discovery Material containing Protected Information

 (except "RESTRICTED CONFIDENTIAL-ATTORNEYS' EYES ONLY COMPUTER

 SOURCE CODE"), including all notes of counsel, Outside Consultants, or others that incorporate

 in whole or in part information from Protected Information, shall be either returned to the

 Producing Party or shall be destroyed. Counsel for any party or third-party receiving Protected

 Information shall make written certification of compliance with this provision regarding return or

 destruction and shall deliver the same to counsel for the Producing Party within ninety (90)

 calendar days after the conclusion of the above-captioned case. Within ten (10) days after the final

 conclusion of this action, including any appeals, all "RESTRICTED CONFIDENTIAL-

 ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" materials produced by any party

                                                   15
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page16
                                                            36ofof40
                                                                   60PageID
                                                                      PageID#:#:320
                                                                                 8600




 shall be returned to the producing party along with certification by outside counsel of record and

 any other individuals who accessed such materials that all such materials have been returned.

         In the event that a party is dismissed by agreement from the case prior to conclusion of this

 matter in its entirety, all Discovery Material containing Protected Information (except

 "RESTRICTED CONFIDENTIAL -              ATTORNEYS' EYES ONLY COMPUTER SOURCE

 CODE" and other than pleadings, discovery responses, and exhibits contained in the official court

 record, and attorney work product documents) produced by the dismissed party shall be returned to

 the dismissed party or shall be destroyed within sixty (60) calendar days from entry of the dismissal

 order. Counsel for any party or third-party that received Protected Information from a dismissed

 party shall make written certification of compliance with this provision and shall deliver the same

 to counsel for the dismissed party within ninety (90) calendar days after the entry of the dismissal

 order. Within ten (10) days after the dismissal, all "RESTRICTED CONFIDENTIAL-

 ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" materials produced by the dismissed

 party shall be returned to the producing party along with certification by outside counsel of record

 and any other individuals who accessed such materials that all such materials have been returned.

         Notwithstanding the foregoing, Outside Counsel and Inside Counsel are not required to

 delete information that may reside on their respective back-up systems; however, Outside Counsel

 and Inside Counsel agree that no Protected Information shall be retrieved from the electronic back-

 up systems to be used as reference materials for business operations after conclusion of this

 litigation.

         5.3.1. Notwithstanding the foregoing, Outside Counsel ofrecord shall be entitled at the

 termination of this case, including all appeals, to maintain copies of all pleadings, motions and trial

 briefs (including all supporting and opposing papers and exhibits thereto), written discovery

 requests and responses (and exhibits thereto), deposition transcripts (and exhibits thereto), trial

                                                    16
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page17
                                                            37ofof40
                                                                   60PageID
                                                                      PageID#:#:321
                                                                                 8601




transcripts, exhibits offered or introduced into evidence at trial, and any work-product containing

Protected Information, provided however that any Protected Information contained in any such

documents retained by Outside Counsel of record shall remain subject to the protections of this

Order.

         5.4.   Disclosure of Discovery Materials

         No Receiving Party or other person receiving any Protected Information in accordance with

this Order shall disclose or permit the disclosure of any such Protected Information to any other

person or entity, except the following:

         5.4.1. Disclosure of Protected Information that is designated "CONFIDENTIAL" may be

made only to:

         a.     Outside Counsel;

         b.     No more than three (3) Inside Counsel or employees (collectively, "In-House

                Employees") per Party who have complied with the provisions of Section 5.5.2

                below;

         c.     Outside Consultants, and their necessary support personnel, who have complied with

                the provisions of Section 5.5.1 below and signed the form attached hereto as

                Attachment A;

         d.     Court Staff, provided any filings are under seal or with other suitable precautions

                determined by the Court;

         e.     Graphics, translation, or design services retained by counsel for purposes of

                preparing demonstrative or other exhibits for deposition, trial, or other court

                proceedings in the action; non-technical jury or trial consulting services, who have

                signed the form attached hereto as Attachment A;

         f.     Mock jurors who have signed the form attached hereto as Attachment A agreeing to

                                                   17
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page18
                                                            38ofof40
                                                                   60PageID
                                                                      PageID#:#:322
                                                                                 8602




                   be bound by the terms and conditions of this Order (said signed acknowledgment for

                   mock jurors need not be provided to counsel for any other party);

        g.         Any person to whom the Producing Party agrees to provide a copy; and

        h.         Any other person with the prior written consent of the Producing Party specifying

                   that said person may have access to material designated as "CONFIDENTIAL".

        5.4.2.1.          Disclosure of Protected Information that is designated "HIGHLY

CONFIDENTIAL-ATTORNEYS' EYES ONLY" may only be made to:

        a.         Outside Counsel;

        b.         Outside Consultants, and their necessary support personnel, who have complied with

                   the provisions of Section 5 .5 .1 - 5 .5 .2 below and signed the form attached hereto as

                   Attachment A;

        c.         Court Staff, provided any filings are under seal or with other suitable precautions

                   determined by the Court;

        d.         Graphics, translation, or design services retained by counsel for purposes of

                   preparing demonstrative or other exhibits for deposition, trial, or other court

                   proceedings in the action; non-technical jury or trial consulting services, who have

                   signed the form attached hereto as Attachment A;

        e.         Any person to whom the Producing Party agrees to provide a copy; and

        f.         Any other person with the prior written consent of the Producing Party specifying

                   that said person may have access to material designated as "HIGHLY

                   CONFIDENTIAL-ATTORNEYS' EYES ONLY".

        5.4.2.2. Encryption. To the extent that any HIGHLY CONFIDENTIAL -

ATTORNEYS' EYES ONLY Material is transmitted from or to authorized recipients outside of the

 Receiving Party's Outside Counsel's office, the transmission shall be by hand or by a secure

                                                      18
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page19
                                                            39ofof40
                                                                   60PageID
                                                                      PageID#:#:323
                                                                                 8603




transport carrier (e.g., Federal Express), and encrypted if in electronic format.

        5.4.3. Disclosure of Protected Information that is designated "RESTRICTED

CONFIDENTIAL-ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" may be made

(pursuant to the specific provision in Section 6 below) only to:

        a.      Outside Counsel;

        b.      No more than three (3) Outside Consultants of any Receiving Party as defined above

                and who have signed the form attached hereto as Attachment A. To the extent the

                Receiving Party seeks to have additional Outside Consultants obtain access to a

                particular Producing Party's Source Code, the Parties shall meet and confer in good

                faith;

        c.      Court Staff, provided any filings are under seal or with other suitable precautions

                determined by the Court; and

        d.      Any other person with the prior written consent of the Producing Party specifying

                that said person may have access to material designated as "RESTRICTED

                CONFIDENTIAL -ATTORNEYS' EYES ONLY COMPUTER SOURCE

                CODE".

         5.5.   General Disclosures

        Notwithstanding the restrictions set forth above, the following disclosures may be made in

 accordance with this Order:

         5.5.1. Outside Consultants. Prior to the disclosure of any of the Producing Party's

Protected Information to an Outside Consultant, and for each Outside Consultant to whom

 disclosure is proposed, the Receiving Party shall give at least seven (7) business days written notice

to the Producing Party, providing:

        a.      the name, business title and business address of the Outside Consultant;

                                                   19
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page20
                                                            40ofof40
                                                                   60PageID
                                                                      PageID#:#:324
                                                                                 8604




        b.      a copy of the proposed Outside Consultant's executed Attachment A;

        c.      a copy of the proposed Outside Consultant's cmTent curriculum vitae showing the

               proposed Outside Consultant's education;

        d.     the Outside Consultant's current employer;

        e.      a list of any previous or current relationships (personal, professional, fmancial, or

                otherwise) with any of the parties; and

        f.      a list of all other cases by name, case number, and location of court in which the

                Outside Consultant has testified (at trial or deposition) or submitted a written report

                or declaration, within the last four (4) years.

         5.5.2. Outside Counsel desiring to disclose Protected Information to Outside Consultants or

In-House Employees shall first obtain a signed undertaking, in the form of Attachment A attached

hereto, from each such Outside Consultant or Jn..: House Employee, and such Outside Counsel shall

retain in its files the original of each such signed undertaking. For Outside Consultants, a copy of

the proposed undertaking shall be forwarded to opposing counsel with the current curriculum vitae

and other materials set forth in Section 5.5.l for such Outside Consultant. For In-House

Employees. a copy of the proposed undertaking need not be forwarded to opposing counsel.

        5.5.3 Prior to disclosing any Protected Information to any Outside Consultant, Outside

Counsel for the Receiving Party shall determine that disclosure of particular Protected Information

to an Outside Consultant is, in that counsel's good faith judgment, reasonably necessary to the

party's representation. If, during the seven (7) business day notice period, the Producing Party

 serves, in writing, a good faith objection with a written explanation to the proposed disclosure to

showing the Outside Consultant Protected Information, there shall be no disclosure of said

Protected Information to such Outside Consultant pending resolution of the objection. The

 Producing Party may also request additional information about the Outside Consultant or otherwise

                                                    20
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page21
                                                            41ofof40
                                                                   60PageID
                                                                      PageID#:#:325
                                                                                 8605




request additional assurances based upon concerns resulting from any information disclosed

pursuant to Section 5.6.1. If a Producing Party objects to the disclosure of Protected Information to

an Outside Consultant, the parties must meet and confer regarding the objection within five (5)

business days after such objection is served. The objecting party's consent to the disclosure of

Protected Information to an Outside Consultant shall not be unreasonably withheld, and its

objection must be based on that party's goodfaith belief that disclosure of its Protected Information

to the 9utside Consultant will result in business or economic harm to that party. If the objection

 cannot be resolved through the meet and confer process, the party seeking to disclose information to

 an Outside Consultant may file an appropriate motion with the Court.

        5.5.4. Public Documents. None of the restrictions set forth in this Order shall apply to any

 documents or other information that becomes public knowledge by means not in violation of the

 provisions of this Order. Nothing in this Order shall prevent a party from using any information

 that the party properly possessed prior to receipt of any Prote".ted Information in this litigation, or

 that is discovered or developed independently by the Receiving Party.

        5.5.5. Discussion With Author or Recipient. Notwithstanding any other provision, if

 Discovery Material makes reference to the actual or alleged conduct or statement of a person,

 Outside Counsel may discuss such conduct or statements with such person, provided that such

 discussions do not disclose or reveal any other Protected Information.

         5.5.6. Disclosure of Party's Own Information. The restrictions on the use of Discovery

 Material established by the Order are applicable only to Discovery Material received by a party

 from another party or from a third-party as a direct result of this litigation. Any party is free to use

 its own Discovery Material for any purpose.




                                                    21
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page22
                                                            42ofof40
                                                                   60PageID
                                                                      PageID#:#:326
                                                                                 8606




        5.6.   Disclosure During Depositions

        A party may use Protected Information in depositions with: (a) a current or former officer,

director or employee of the Producing Party or a current or former officer, director or employee of a

company affiliated with the Producing Party; (b) an individual identified in the Protected

Information as an author, addressee, carbon copy or other recipient of such information; (c)

although not identified as an author, addressee, carbon copy or other recipient of such information,

an individual who has, in the ordinary course of business, seen or could reasonably been expected

to see such information; or (d) an Outside Consultant who has executed Attachment A.

        No one may attend or review the transcripts or the portions of any depositions at which

Protected Information is shown or discussed other than those individuals qualified to see such

Protected Information as set forth in this Order.

        5.7.   Disclosure Pursuant to Subpoena

        If any entity subpoenas or orders production of Protected Information from a Receiving

Party that a Receiving Party has obtained subject to this Order, such Receiving Party shall promptly

notify the Producing Party of the subpoena or order and shall not produce the information until the

·Producing Party has had reasonable notice (which shall be not less than fifteen (I 5) business days)

to object or take other appropriate steps to protect the information. If a Producing Party does not

take steps to prevent disclosure of such documents within the notice period given, the party to

whom the referenced subpoena is directed may produce such documents in response. Nothing in

this Order should be construed as authorizing or encouraging a Receiving Party in this action to

disobey a lawful directive from another court.

        5.8.   Disclosure of Protected or Privileged Information

        Production or disclosure of documents or information subject to the attorney-client

privilege, work product immunity, joint defense privilege, common interest privilege, or any other

                                                    22
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page23
                                                            43ofof40
                                                                   60PageID
                                                                      PageID#:#:327
                                                                                 8607




applicable privilege or immunity shall not constitute a waiver of, nor a prejudice to, any claim that

such or related material is Protected Information, privileged, or protected by the work product

immunity, joint defen~e privilege, common interest privilege, or any other applicable privilege,

provided that the Producing Party promptly notifies the Receiving Party in writing after discovery

of such production or disclosure. Such produced or disclosed documents or information, including

all copies thereof, shall be returned to the Producing Party or destroyed immediately upon request.

The Receiving Party shall also immediately destroy any notes or other writing or recordings that

summarize, reflect, or discuss the content of such privileged or Protected Information. No use shall

be made of such documents or information during deposition or at trial, nor shall such documents or

information be shown to anyone who has not already been given access to them subsequent to the

request that they be returned. If, within ten (10) business days of the notice from the Producing

Party, the Receiving Party indicates to the Producing Party thatthe privileged/protected nature of

such Discovery Material is in dispute, the Producing Party shall include the produced or disclosed

Discovery Material in a privilege log identifying such document.. The Receiving Party may move

the Court for an Order compelling production of any produced or disclosed document or

information, but the motion shall be filed under seal and shall not assert as a ground for production

the fact of the production or disclosure, nor shall the motion disclose, summarize, characterize, or

otherwise use the content of the produced document or information (beyond any information

 appearing on the above-referenced privilege log).

        5.9 Prosecution Bar

        Absent the written consent of the Producing Party, any person on behalf of any Party, who

has accessed technical documentation or information designated "HIGHLY CONFIDENTIAL -

ATTORNEYS' EYES ONLY" or "RESTRJCTED CONFIDENTIAL - ATTORNEYS' EYES

 ONLY SOURCE CODE" by a Producing Party shall not be involved in the prosecution of patents

                                                     23
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page24
                                                            44ofof40
                                                                   60PageID
                                                                      PageID#:#:328
                                                                                 8608




or patent applications relating to technology for utilizing multiple radio frequency (RF) channels to

increase data throughput to a device, before any foreign or domestic agency, including the United

States Patent and Trademark Office, including providing advice or input regarding scope of a patent

or claims or amendments thereto to an attorney or agent conducting such prosecution. These

prohibitions are not intended to and shall not preclude counsel from participating in post grant

proceedings, including inter partes review and covered business method patent review, on behalf of

a Party. These prohibitions shall begin when access to "HIGHLY CONFIDENTIAL

-ATTORNEYS' EYES ONLY" or "RESTRICTED CONFIDENTIAL - ATTORNEYS' EYES

ONLY - SOURCE CODE" materials first occurs for the affected individual, and shall end two (2)

years after the final resolution of this action, including all appeals.

        5.10 Expert Reports

        Expert Reports - Within three business days after service of expert reports, the Producing

Party shall serve a redacted expert report, redacting any HIGHLY CONFIDENTIAL -

ATTORNEYS' EYES ONLY and HIGHLY CONFIDENTIAL- SOURCE CODE information not

belonging to the Receiving Party.

        Notwithstanding the foregoing provisions regarding access by in-' house counsel, in-house

counsel for defendants shall be permitted to see any Confidential or Highly Confidential

information belonging to Plaintiff that is used in Plaintiffs damages expert report.

        5.11 Export Controls

        Protected Information may only be accessed by the Receiving Party within the United States

and shall not be transported to, or accessed from, any foreign jurisdiction. Nothing in this

paragraph shall prohibit any person to whom disclosure of Protected Material.is authorized from

transporting or accessing such material while temporarily traveling outside of the United States or

 for purposes of taking a deposition outside of the United States, where use of the Protected Material

                                                    24
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page25
                                                            45ofof40
                                                                   60PageID
                                                                      PageID#:#:329
                                                                                 8609




is permitted under the provisions of this Order.

6.     SOURCE CODE

       6.1.    Notice

       In the event that Source Code is produced in this action, access to such Source Code will be

given only to those individuals for the Receiving Party who are authorized under Sections 5.4.3(a)

and 5.4.3(b) of this Order to have access to Discovery Material designated as "RESTRICTED

CONFIDENTIAL-ATTORNEYS' EYES ONLY SOURCE CODE." Prior to inspection of the

Producing Party's Source Code, the Receiving Party shall give at least two (2) business days written

notice to the Producing Party.

       6.2.    Review of Source Code

       In the event that Source Code is produced in this action:

       6.2.1. The Producing Party will make its Source Code available for inspection

electronically in the same form as maintained in the ordinary course of the Producing Party's

business and in computer searchable format, except that the Producing Party, at its discretion, may

make the files "read only" to prevent modification, provided that this doesn't preclude using review

tools to create additional files with line numbers, file name, etc. The Producing Party will make its

Source Code available for inspection on up to two "stand alone" Source Code Review Computers

(i.e., individual computers that are not connected to any network, Internet, or peripheral device) in

the format suitable for review at the offices of the Producing Party's counsel, or at another location

that the Parties can agree upon, such agreement not to be unreasonably withheld (the "Designated

Facility''). If the Receiving Party desires to review the Source Code on more than one Source Code

Review Computer, the Receiving Party will notify the Producing Party at least ten (10) calendar

days in advance of the date upon which the Receiving Party wishes to have the additional Source

 Code Review Computer available. The Receiving Party shall bear the costs of equipment and set

                                                   25
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page26
                                                            46ofof40
                                                                   60PageID
                                                                      PageID#:#:330
                                                                                 8610




up of the second Source Code Review Computer.

        6.2.2. Unless otherwise agreed to in writing between the Producing Party and the

Receiving Party, a Receiving Party may only review a Producing Party's Source Code on the

Source Code Review Computer. The Source Code Review Computer may be configured to prevent

additional peripheral devices (e.g., USB thumb drives) from being connected to it.

        6.2.3. Absent agreement to the contrary, access to the Source Code Review Computer will

be made available during regular business hours. However, upon reasonable notice from the

Receiving Party, the Producing Party shall make reasonable efforts to accommodate the Receiving

Party's request for access to the Source Code outside of normal business hours. To the extent such

 accommodation results in additional expense including overtime for employees required to keep the

 office open, such expense will be borne by the Receiving Party.

        6.2.4. The Receiving Party, at its own expense, may request that the Producing Party install

 software on a Source Code Review Computer to perform searches of the ProducingParty's Source

 Code, provided that such other software is necessary for the Receiving Party to perform its review

 of the Source Code consistent with all of the protections herein. The Receiving Party must provide

 the Producing Party with appropriate access to such software tool(s), including by procuring any

 necessary software licenses, at least ten (10) calendar days in advance of the date upon which the

 Receiving Party wishes to have the additional software available for use on the Source Code

 Review Computer. The Producing Party shall be responsible for the costs associated with the

 loading of review tools only prior to the Receiving Party's first access to the Source Code Review

 Computer. Thereafter, should the Receiving Party desire additional review tools, the Receiving

 Party shall be responsible for the costs associated with the loading of those additional review tools.

 The Producing Party reserves the right to reject any review tool that pehnits editing, modifying, or

 compiling the source code. Timely requests for the installation of such review tools software will

                                                   26
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page27
                                                            47ofof40
                                                                   60PageID
                                                                      PageID#:#:331
                                                                                 8611




not be unreasonably denied so long as the requested review tools software is compatible with the

operating system, and other software necessary to make the Source Code available for inspection,

installed on a Source Code Review Computer, does not prevent or impede the Receiving Party's

access to the Source Code produced for inspection on a Source Code Review Computer and does

not side-step any of the security features enabled on a Source Code Review Computer (e.g., enable

connection and use ofUSB thumb drives). The Receiving Party shall not erase, load, install, or

otherwise modify any program (or request that any other program be erased, loaded, installed, or

otherwise modified by the Producing Party) on the Source Code Review Computer.

        6.2.5. A list of names of persons who will view the Source Code materials will be provided

to the Producing Party in conjunction with any written (including e-mail) notice requesting

inspection. The Producing Party may request that persons viewing Source Code sign a log sheet,

provided by the Producing Party, when they enter or depart the Designated Facility. The Producing

Party will provide a copy of the log to the Receiving Party within five (5) business days of

requesting a copy of the log. The Producing Party shall be entitled to have a person observe all

 entrances and exits from the viewing room. However, any monitors must remain at a reasonable

 distance away from those reviewing the source code so that those reviewing the code may discuss

the code without being overheard by the monitor. No recordable media, recordable devices,

 input/output devices or other electronic devices, including without limitation sound recorders,

 computers, cellular telephones, peripheral equipment, cameras, CDs, DVDs, or drives of any kind,

 shall be permitted in the source code reviewing room. Notwithstanding the above limitations, if

 requested, a Producing Party will make available a computer for note taking, subject to the

 following restrictions:

        i.      All network connectivity and other access to external devices (e.g. USB devices) will be

                disabled;

                                                   27
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page28
                                                            48ofof40
                                                                   60PageID
                                                                      PageID#:#:332
                                                                                 8612




        II.      The Receiving Party does not use the computer to copy any source code;

        m.       No files can be removed from the device but, at the request of the Receiving Party's

                 counsel or Outside Consultant, a printer will be provided for the Receiving Party's

                 counsel or Outside Consultant to print any notes taken;

        iv.      After printing, the Receiving Party will delete the notes from the computer and sign

                 a statement confirming that no lines of source code were copied into the notes;

        v.       The Producing Party will not retain or view any copies of notes in any form that

                 were taken on the computer by the Receiving Party's counsel or Outside Consultant;

                 and.

        vi.      Any such notes must be labeled HIGHLY CONFIDENTIAL- SOURCE CODE

                 under this Order and treated as such.

        6.2.6. The Receiving Party shall be entitled to have the Producing Party print in paper form,

reasonable portions of source reasonably anticipated by the Receiving Party to be necessary for the

preparation of claims or defenses in this case. The Receiving Party shall not request printing of

 Source Code in order to review blocks of Source Code elsewhere in the first instance, i.e., as an

alternative to reviewing that Source Code electronically on the Source Code Review Computer, as

the parties acknowledge and agree that the purpose of the protections herein would be :frustrated by

printing portions of code for review and analysis elsewhere, and that printing is permitted solely to

 enable use of Source Code in filings, depositions, proceedings, contentions, expert reports, and

related drafts and correspondence.

        6.2.7.   The Producing Party will provide any printed paper copies to the Requesting Party

within four (4) business days of the Requesting Party's request, unless otherwise agreed or the

Producing Party objects to the request. The Producing Party may object to any portion of any

printed Source Code files as not relevant to any claim or defense in this litigation, and accordingly

                                                   28
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page29
                                                            49ofof40
                                                                   60PageID
                                                                      PageID#:#:333
                                                                                 8613




deny printing of any Source Code files pending resolution of the Producing Party's objection. The

Parties shall meet and confer to resolve any such dispute within five (5) business days of the

Receiving Party's Source Code print request. If the parties are unable to resolve such a dispute, the

Receiving Party may apply to the Court for relief Any contested portion of any printed Source

Code files need not be produced to the Receiving Party until the dispute is resolved by the parties or

the Court.

        6.2.8. If the Receiving Party desires to receive printed copies of more than a continuous

block of up to fifteen (15) pages of Source Code or of an entire file, or if the Producing Party

challenges the amount of printed Source Code, the parties shall meet and confer. Any contested

portion of any printed Source Code files need not be produced to the Receiving Party until the

dispute is resolved by the parties or the Court. After printing, the Producing Party shall clearly

label each page of any printed copies "RESTRICTED CONFIDENTIAL -               ATTORNEYS' EYES

ONLY COMPUTER SOURCE CODE" and give each page a unique identification number.

         6.2.9. For purpose of use in connection with a motion, hearing or trial, the Receiving

Party's Outside Counsel may make three (3) copies of the printed Source Code pages after delivery

for internal use. Whenever hard copies are made, counsel for the Receiving Party shall provide to

counsel for the Producing Party an identification of when the copies were made and who made

them. Any hard copies shall be clearly labeled "RESTRICTED CONFIDENTIAL -

ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" and labeled with the corresponding

copy number (e.g., "Copy 1," "Copy 2," or "Copy 3"). Printed copies of Source Code shall be

securely maintained in locked rooms or cabinets at the offices of Outside Counsel of the Receiving

Party or the offices of the Receiving Party's Outside Consultants. Printed copies may only be used

in connection with the preparation and filing of a motion (under seal), preparing expert reports,

 depositions, a hearing, and/or during trial and shall be destroyed as soon as they are no longer

                                                   29
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page30
                                                            50ofof40
                                                                   60PageID
                                                                      PageID#:#:334
                                                                                 8614




needed. No electronic copies (e.g., scans, PDFs, tiffs, etc.) of any of the printed Source Code pages

may be created without prior written consent of the Producing Party. The Receiving Party shall

ship printed copies of Source Code only by a secure carrier and shipping method that provides

tracking information for such shipment. If delivery of such shipment is delayed by more than three

(3) business days, or if such shipment is lost by the carrier, the Receiving Party will notify the

Producing Party of the circumstances immediately.

        6.2.10. Printed copies of Source Code may be reviewed by persons or entities permitted to

access "RESTRICTED CONFIDENTIAL -              ATTORNEYS' EYES ONLY COMPUTER

SOURCE CODE" information at the offices of Outside Counsel of the Receiving Party or the

offices of the Receiving Party's Outside Consultants, but may not be removed from such offices.

Citations to source code should be made by production (Bates) number and line number in expert

reports, contentions, or other documents that are not filed with the Court, to prevent unnecessary

copying and transmittal of such code. To the extent a party believes in good faith that source code

 is required in a Court filing, it shall meet and confer with the Producing Party regarding appropriate

procedures for doing so. Extra copies of"RESTRICTED CONFIDENTIAL-ATTORNEYS'

EYES ONLY COMPUTER SOURCE CODE" information may be made for and used in Court

 filings and proceedings, and depositions of persons or entities permitted to access, or be deposed

 on, "RESTRICTED CONFIDENTIAL - ATTORNEYS' EYES ONLY COMPUTER SOURCE

 CODE" information of the Producing Party. Copies made for such purposes (Court filings and

proceedings, and depositions) do not count against the three additional copies allowed under

 Section 6.2.9. The Receiving Party shall provide two (2) business days' notice to the Producing

Party ifthe Receiving Party intends to use Source Code in a deposition.

        6.2.11. Source Code shall not be filed electronically with the Court. Any filing requiring

 submission of Source Code shall be filed under seal with reference to the Source Code portions by

                                                   30
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page31
                                                            51ofof40
                                                                   60PageID
                                                                      PageID#:#:335
                                                                                 8615




page and line number only, along with a designation that a paper copy of the corresponding Source

Code has been lodged with the Court. For the sake of clarity, any copy of any Source Code

included with a filing must be hand delivered to the Court in paper format only, and shall not be

served electronically on any party.

        6.2.12. All paper copies that are no longer necessary in the Litigation (e.g., extra copies at

the conclusion of a deposition) shall be returned to the Producing Party. Copies of Source Code

that are marked as deposition exhibits shall not be provided to the court reporter or attached to

deposition transcripts; rather, the deposition record will identify the exhibit by its production

numbers.

 7.     MISCELLANEOUS

        7.1.       Right to Further Relief

        Nothing in this Order abridges the right of any party to seek its modification by the Court in

the future.

        7.2.       Jurisdiction

        This Protective Order shall be binding upon the parties, and their respective attorneys,

 successors, executors, personal representatives, administrators, heirs, legal representatives, assigns,

 subsidiaries, divisions, employees, agents, independent contractors, or other persons or

 organizations over which they have control. The United States District Court for the District of

 Delaware, or any court to which this action is transferred, is responsible for the interpretation and

 enforcement of this Order. All disputes concerning documents or information covered under this

 Order (however designated) and produced under the protection of this Order shall be resolved by

 the United States District Court for the District of Delaware, or the court to which this action may

 be transferred.

         7.3.      Continuing Jurisdiction

                                                   31
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page32
                                                            52ofof40
                                                                   60PageID
                                                                      PageID#:#:336
                                                                                 8616




        After the conclusion of the above-captioned case, the provisions of this Order shall continue

to be binding until further order of this Court, and this Court shall retain jurisdiction over the parties

and any other person who has had access to Protected Information pursuant to this Order, in order

to enforce the Order's provisions.

        7.4.    Interpretation

        Should the parties have any issues concerning the interpretation of this Order, before any

party moves for this Court's assistance, they shali first promptly meet and confer to resolve the

 dispute. The headings used in this Order are supplied for convenience only and shall not be taken

 into account in the interpretation of this Order.

        7.5.    Modification

        This Order may be modified by this Court for good cause shown or by mutual written

 agreement between (or among) the parties and this Court's approval of such agreement. The Court

 may enter a subsequent order addressing the use of Protected Information at trial or at the

 conclusion of the above-captioned case.

        7.6.    Outside Counsel's Communication with Client

        Nothing in this Order shall preclude or impede Outside Counsel's ability to communicate

 with or advise their client based on their review and evaluation of Protected Information produced

 by the opposing party, provided that such communications or advice shall not disclose or reveal

 Protected Information in violation of this Order.




                                                     32
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page33
                                                            53ofof40
                                                                   60PageID
                                                                      PageID#:#:337
                                                                                 8617




        7.7.    No Probative Value

        The Order shall not aggregate or diminish any contractual, statutory, or other legal

obligation or right of any party or person with respect to any Protected Information. The fact that

 information is designated "CONFIDENTIAL," "HIGHLY CONFIDENTIAL-ATTORNEYS'

EYES ONLY," or "RESTRICTED CONFIDENTIAL -                    ATTORNEYS' EYES ONLY

 COMPUTER SOURCE CODE" under this Order shall not be deemed to be determinative of what a

trier of fact may determine to actually be the appropriate designation. This Order shall be without

prejudice to the right of any party to bring before the Court questions regarding (a) whether any

particular material is or is not properly designated or (b) whether any particular information or

 material is or is not entitled to a greater or lesser degree of protection under the terms of this Order,

 provided that in doing so, the party complies with the procedures set forth herein. The fact that any

 information is disclosed, used, or produced in any court proceeding in this case shall not be offered

 in any action proceeding before any court, agency, or tribunal as evidence of or concerning whether

 or not such information is admissible, confidential, or proprietary.

        7.8.    Use of Protected Information in Court

        Before disclosing Protected Information in an open courtroom at trial or other court hearings

 in this case, a party must provide notice to the Producing Party so that the Producing Party has a

 reasonable opportunity to take appropriate action to prevent or limit disclosure of the Protected

 Information in the open courtroom. The Producing Party bears the burden of showing that the

 Court should prevent or limit disclosure of the Protected Information in the open courtroom;

 otherwise, the Protected Information may be used in an open courtroom at trial or other court

 hearings in this case without regard to the other provisions in this Order. The parties agree that the

 use of Protected Information at trial or other court hearings in this case shall not constitute a waiver

 of or operate in prejudice to any claim of confidentiality in the Protected Information.

                                                    33
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page34
                                                            54ofof40
                                                                   60PageID
                                                                      PageID#:#:338
                                                                                 8618




       Where Protected Information may be revealed or referred to in a question that will be put to

a witness at trial upon oral examination or Protected Information will be used as exhibits during the

examination, the Producing Party may request that the Court require that all persons in attendance

who are not entitled access to such Protected Information under this Protective Order leave the

courtroom until such line of inquiry is completed.

8.     OTHER PROCEEDINGS

       By entering this order and limiting the disclosure of information in this case, the Court does

not intend to preclude another court from finding that information may be relevant and subject to

disclosure in another case. Any person or party subject to this order who becomes subject to a

motion to disclose another party's information designated "CONFIDENTIAL," "HIGHLY

CONFIDENTIAL-ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-

ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" pursuant to this order shall promptly

notify that party of the motion so that the party may have an opportunity to appear and be heard on

whether that information should be disclosed.

       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.



       IT IS HEREBY ORDERED this        Jt day of J.'Vl ~                '2016.




                                                      United States District Judge




                                                 34
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page35
                                                            55ofof40
                                                                   60PageID
                                                                      PageID#:#:339
                                                                                 8619




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                                             FOR THE DISTRICT OF DELAWARE



CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-842-RGA
      v.
                                               JURY TRIAL DEMANDED
ATLANTIC BROADBAND GROUP, LLC,

                  Defendant.


CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-843-RGA
      v.
                                               JURY TRIAL DEMANDED
BRIGHT HOUSE NETWORKS, LLC,

                  Defendant.


CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-844-RGA
      v.
                                               JURY TRIAL DEMANDED
CABLE ONE INC.,

                  Defendant.




                                       35
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page36
                                                            56ofof40
                                                                   60PageID
                                                                      PageID#:#:340
                                                                                 8620




CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-845-RGA
      v.
                                               JURY TRIAL DEMANDED
CABLEVISION SYSTEMS
CORPORATION, et al,

                  Defendants.


CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-846-RGA
      v.
                                               JURY TRIAL DEMANDED
CEQUEL COMMUNICATIONS, LLC, et
al,                    ·

                  Defendants.


·CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-847-RGA
      V.
                                               JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.,

                  Defendant.


CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-848-RGA
      v.
                                               JURY TRIAL DEMANDED
COMCAST CORPORATION et al
                               '   '
                  Defendants.



                                       36
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page37
                                                            57ofof40
                                                                   60PageID
                                                                      PageID#:#:341
                                                                                 8621




CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-849-RGA
      v.
                                               JURY TRIAL DEMANDED.
COX COMMUNICATIONS, INC.,

                  Defendant.


CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-850-RGA
      V.

                                               JURY TRIAL DEMANDED.
MEDIACOM COMMUNICATIONS
CORPORATION,

                  Defendant.


CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-851-RGA
      v.
                                               JURY TRIAL DEMANDED
RCN TELECOM SERVICES, LLC,

                  Defendant.


 CHANBOND, LLC,

                  Plaintiff,
                                                  C.A. No. 15-852-RGA
      v.
                                               JURY TRIAL DEMANDED
TIME WARNER CABLE INC., et al,

                  Defendants.




                                       37
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page38
                                                            58ofof40
                                                                   60PageID
                                                                      PageID#:#:342
                                                                                 8622




CHANBOND, LLC,

                       Plaintiff,
                                                                C.A. No. 15-853-RGA
        v.
                                                            JURY TRIAL DEMANDED
WAVEDIVISION HOLDINGS, LLC,

                       Defendant.


CHANBOND, LLC,

                       Plaintiff,
                                                                C.A. No. 15-854-RGA
        v.
                                                            JURY TRIAL DEMANDED
WIDEOPENWEST FINANCE, LLC,

                       Defendant.




                                         ATTACHMENT A

                         WRITTEN ACKNOWLEDGEMENT
                TO ABIDE BY THE TERMS OF THE PROTECTIVE ORDER

        I, the undersigned, hereby certify that I have read the Protective Order entered in the United

 States District Court for the District of Delaware in the cases entitled: ChanBond, LLC v. Atlantic

Broadband Group, LLC, Case No. 15-842 (RGA); ChanBond, LLC v. Bright House Networks, LLC,

 Case No. 15-843 (RGA); ChanBond, LLC v. Cable One, Inc., Case No. 15-844 (RGA); ChanBond,

LLC v. Cablevision Systems Corporation et al., Case No. 15-845 (RGA); ChanBond, LLC v. Cequel

 Communications, LLC et al., Case No. 15-846 (RGA); ChanBond, LLC v. Charter

 Communications, Inc., Case No. 15-847 (RGA); ChanBond, LLC v. Comcast Corporation et al.,

 Case No. 15-848 (RGA); ChanBond, LLC v. Cox Communications, Inc., Case No. 15-849 (RGA);

. ChanBond, LLC v. Mediacom Communications Corporation, Case No. 15-850 (RGA); ChanBond,

                                                  38
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page39
                                                            59ofof40
                                                                   60PageID
                                                                      PageID#:#:343
                                                                                 8623




LLC v. RCN Telecom Services, LLC, Case No. 15-851 (RGA); ChanBond, LLC v. Time Warner

Cable Inc. et al., Case No. 15-852 (RGA); ChanBond, LLC v. WaveDivision Holdings, LLC, Case

No. 15-853 (RGA); and ChanBond, LLC v. WideOpenWest Finance, LLC, Case No. 15-854 (RGA).

       I understand the terms of the Protective Order. I agree to be bound by such terms and to

submit to the personal jurisdiction of the District of Delaware with respect to any proceeding

related to the enforcement of this Protective Order, including any proceedings related to contempt

of Court. I will not disclose Discovery Materials marked "CONFIDENTIAL," "HIGHLY

CONFIDENTIAL-ATTORNEYS' EYES ONLY," or "RESTRICTED CONFIDENTIAL-

ATTORNEYS' EYES ONLY COMPUTER SOURCE CODE" to anyone other than persons

specifically authorized by the Protective Order, and I agree to return all such materials which come

into my possession to counsel from whom I received such materials. I also understand that, in the

event that I fail to abide by the terms of this Undertaking or the Order, I may be subject to sanctions

by way of contempt of court and to separate legal and equitable recourse by the adversely affected

Producing Party.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Name of Individual:

Company or Firm:

Address:

Telephone No.:

Relationship to this action and its parties:




Dated: - - - - - -
                                                  39
Case 1:15-cv-00842-RGA
  Case 1:15-cv-00842-RGADocument 141-1
                          Document     Filed03/14/16
                                   29 Filed  09/19/17 Page
                                                       Page40
                                                            60ofof40
                                                                   60PageID
                                                                      PageID#:#:344
                                                                                 8624




                                                      Signature




                                       40
